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                                                       THE HONORABLE JOHN C. COUGHENOUR
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                                  UNITED STATES DISTRICT COURT
 7
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE

 9   BERNADEAN RITTMANN, et al.,                               Consolidated Action
                                                               CASE NO. C16-1554-JCC
10
                                 Plaintiffs,
11                                                             MINUTE ORDER
         v.
12
     AMAZON.COM, INC., et al.,
13
                                 Defendants.
14

15            This matter comes before the Court on the parties’ joint status report (Dkt. No. 295),
16   following the Supreme Court’s denial of certiorari petitions in Carmona v. Domino’s Pizza LLC,
17   No. 23-427, 2024 WL 1706016, slip op. at 1 (U.S. 2024), and Miller v. Amazon.com, Inc., No.
18   23-424, 2024 WL 1706098, slip op. at 1 (U.S. 2024). In that report, the parties provide dueling
19   proposals for a path forward in this putative class action. (See generally Dkt. No. 295). At issue
20   is to what extent the stay in this matter, (Dkt. No. 289 at 1), should be lifted. (See generally Dkt.
21   No. 295.) After reviewing the joint status report, the Court concludes it is now appropriate to lift
22   the stay in its entirety.
23            To assist the Court in formulating a scheduling order for anticipated concurrent renewed
24   motions for class certification and to compel arbitration (along with other anticipated motions,
25   such as a renewed motion to dismiss the First Amended Consolidated Class Action Complaint),
26   the parties are DIRECTED to meet and confer and provide the Court with a supplemental joint

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 1   status report containing a proposed revised case management schedule, through class

 2   certification (including required discovery). This supplement shall be filed with the Court no

 3   later than May 10, 2024.

 4          In the meantime, the stay remains in effect. The Court expects to lift it when it enters a

 5   revised case management order. To the extent a party wishes that the Court consider a motion

 6   previously struck by the Court, (see Dkt. No. 282 at 2), they must so renew that motion but need

 7   not refile supporting declarations. They can rely on previously filed declarations (with references

 8   to their location on the docket, e.g., Dkt. No. ___ at ___).
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10          DATED this 3rd day of May 2024.
11
                                                             Ravi Subramanian
12                                                           Clerk of Court
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                                                             s/Kathleen Albert
14                                                           Deputy Clerk

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